                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )         Case No. 1:17-cr-70
  v.                                             )
                                                 )         Judge Travis R. McDonough
  CONELL LANGRAM                                 )
                                                 )         Magistrate Judge Christopher H. Steger
                                                 )


                                              ORDER



          U.S. Magistrate Judge Christopher H. Steger filed a report and recommendation [Doc.

 110], recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty plea

 to Count One of the Indictment; (2) accept Defendant’s guilty plea to Count One of the

 Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute 5 kilograms or more of a

 substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; and (4) order that Defendant remain

 in custody until sentencing in this matter. Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with Magistrate Judge Steger’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation [Doc. 110] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

       1. Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment is

          GRANTED;

       2. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;




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    3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute 5 kilograms or more

       of a substance containing a detectable amount of cocaine, a Schedule II controlled

       substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; and

    4. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on January 12, 2018 at 9:00 a.m. before the undersigned.

    SO ORDERED.


                                            /s/Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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